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             IN THE UNITED STATES BANKRUPTCY COURT
                  WESTERN DISTRICT OF MISSOURI
                            (Springfield)

In re:                                )
                                      )
417 Rentals, LLC                      )           Case No. 17-60935-can11
                                      )
                           Debtor     )                  Chapter 11
                                      )
                                      )
City of Springfield, Missouri         )
                                      )
                          Springfield )

              SPRINGFIELD’S WITNESS AND EXHIBIT LIST


At the hearing on July 18, 2018, “Springfield’s Objections to First Amended Plan

and First Amended Disclosure Statement,” Springfield:


   1. intends to call the following witnesses:

         a. Harlan Hill

         b. Christi Edwards

         c. Susan Smith

         d. Carson Cash

         e. James Choates

         f. Keith Coker

         g. Auston Wood

         h. Sherry Jacobson
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        i. David Aderhold

        j. Dorrell Duquette

        k. Joe Curless

        l. Rex Maddox

        m. Robert Moody

        n. Chris Straw

        o. Theresa Radloff

        p. Judy Stalker

        q. Dale Milam

        r. Heidi Hart

        s. Trisha Edmonds

        t. Brandon Moore

        u. Lara Fletcher

        v. Chris Gatley.

  2. reserves the right to call additional witnesses to rebut evidence adduced at

     the hearing or to impeach any witness;

  3. intends to offer the items listed in the “Exhibit Index to ‘Springfield’s

     Objections to First Amended Plan and First Amended Disclosure

     Statement’” into evidence, which items are already filed with the court and

     electronically available; and,

  4. reserves the right to:
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         a. introduce into evidence any items other parties to these proceedings

            may identify;

         b. rebut adduced evidence; or,

         c. impeach any witness.


                                     CITY OF SPRINGFIELD, MISSOURI

                                           /s/ Duke McDonald
                                     Duke McDonald
                                     Missouri Bar #36265
                                     Assistant City Attorney
                                     840 Boonville
                                     Springfield, Missouri 65802
                                     (417) 864-1645
                                     (417) 864-1551 fax
                                     dmcdonald@springfieldmo.gov
                                     ATTORNEY FOR SPRINGFIELD

                                   Service Certificate

I certify that on June 28, 2018, the foregoing “Springfield’s Witness and Exhibit
List” was filed with the Court under its ECF System and was served on said date by
electronic mail directed to all parties entitled to electronic notice.


                                          /s/Duke McDonald
                                     Duke McDonald
